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                    IN THE UNITED STATES BANKRUPTCY COURT
                         FOR THE DISTRICT OF DELAWARE

                                                         )
 In re:                                                  )   Chapter 11
                                                         )
 EDUCATION CORPORATION OF AMERICA,                       )   Case No. 20-10034 (BLS)
                                                         )
                 Alleged Debtor.                         )   Proposed Hearing Date: 2/19/20 @ 1:30 p.m.
                                                         )   Proposed Obj. Deadline: 2/19/20 @ 10:00 a.m.


                   PETITIONING CREDITORS’ MOTION TO DISMISS
                       INVOLUNTARY CHAPTER 11 PETITION

          Monroe Capital Credit Fund II LP (“Monroe”), Reputation Partners LLC, and BSF

Richmond, LP (collectively, the “Petitioning Creditors”), by and through undersigned counsel,

hereby submit this motion (the “Motion”) to dismiss the involuntary petition filed by the

Petitioning Creditors against alleged debtor, Education Corporation of America (“ECA”). In

support thereof, the Petitioning Creditors respectfully state as follows:

                                PRELIMINARY STATEMENT

          1.    The Petitioning Creditors commenced this involuntary bankruptcy proceeding

against ECA for the sole purpose of maximizing the value of ECA’s largest remaining asset, $80

million of insurance policies covering claims that could be asserted against the directors and

officers of the Receivership Entities (collectively, the “D&O Claims”). In furtherance of that

goal, the Petitioning Creditors, and Monroe in particular, were willing to provide funding to

permit a chapter 11 trustee to pursue the D&O Claims for the benefit of all of ECA’s creditors.

          2.    The Petitioning Creditors believed, based on the history of ECA’s pending

receivership (the “Receivership”), that a new steward of ECA’s remaining assets was required to

maximize value. As is evidenced by the pleadings filed by both sides in this proceeding, the

relationship between Monroe and the incumbent receiver (the “Receiver”) is severely damaged

and Monroe has lost confidence the Receiver will achieve the best value for the D&O Claims.


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          3.   The Receiver has fiercely opposed the Petitioning Creditors effort to seek a new

fiduciary to pursue the D&O Claims. That fierce opposition has made it clear that to continue

with the pursuit of the involuntary petition, including litigating over the involuntary petition

itself threatened to be value destructive to the D&O Claims, the exact opposite result the

Petitioning Creditors want to achieve. Notwithstanding the Petitioning Creditors’ belief as to

what is in their collective best interests (and by extension, the best interests of all creditors), the

Petitioning Creditors have made the decision that to preserve the value of ECA’s only remaining

and most valuable asset, the involuntary petition should be withdrawn and the value destructive

litigation avoided.

                                 JURISDICTION AND VENUE

          4.   The Court has jurisdiction over this Motion under 28 U.S.C. §§ 157 and 1334.

This matter is a core proceeding within the meaning of 28 U.S.C. § 157(b)(2)(A). Venue is

proper in this district pursuant to 28 U.S.C. §§ 1408 and 1409.

          5.   The statutory bases for the relief requested herein are sections 105(a) and 303(j)

of the Bankruptcy Code.

                                         BACKGROUND

          6.   On October 5, 2018, VC Macon, GA, LLC, ECA’s Macon, GA landlord, filed a

civil action against the Receivership Entities and commenced the civil action styled VC Macon,

GA LLC v. Virginia College LLC, CA 5:18-cv-00388-TES et al. pending in the United States

District Court for the Middle District of Georgia.

          7.   On November 6, 2018, ECA and certain of its affiliates (collectively, the

“Receivership Entities”) filed an Emergency Motion for the Appointment of a Receiver and Entry

of a Temporary Restraining Order and Preliminary Injunction (the “Receivership Motion”)

seeking the appointment of a receiver in the Receivership. The Receiver was appointed pursuant


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to an Order dated November 14, 2018 (the “Receivership Order”).

          8.    On January 6, 2020 (the “Petition Date”), the Petitioning Creditors filed an

involuntary chapter 11 petition against ECA (the “Involuntary Petition”).

          9.    In response, the Receiver filed, among other things, the Receiver’s Motion for

Abstention from Involuntary Petition under 11 U.S.C. § 305, or Alternatively Dismissal under 11

U.S.C. §§ 303 and 1112(b) [D.I. 10] (the “Abstention Motion”).

          10.   Following an initial status conference with the Court and good faith discussions

between counsel for the Receiver and counsel for the Petitioning Creditors regarding scheduling,

the Petitioning Creditors, on February 4, 2020, filed their Motion of Petitioning Creditors for

Appointment of a Chapter 11 Trustee [D.I. 26] (the “Trustee Motion”).

          11.   After a further status conference on the Abstention Motion and the Trustee

Motion on February 6, 2020, the Court scheduled a hearing on the Abstention Motion for

February 19, 2020 at 1:30 p.m.

          12.   Although the Petitioning Creditors continue to believe in the merits of the

Involuntary Petition and the Trustee Motion, after considering the Court’s concerns, as well as

the significant expense required to prosecute the Abstention Motion and the Trustee Motion

separately, the Petitioning Creditors no longer believe that the prosecution of the Involuntary

Petition is the most efficient way forward.

                                    RELIEF REQUESTED

          13.   The Petitioning Creditors request that the Court dismiss the Involuntary Petition

and this chapter 11 case. Granting the Motion will result in prompt resolution of this case and

will minimize the burden on the Court and the parties related to a case that no party believes

should go forward.




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                                      BASIS FOR RELIEF

          14.   Cases involving the voluntary dismissal of an involuntary petition are rare.

Section 303(j) provides that the Court may dismiss an involuntary petition “(1) on the motion of

a petitioner, (2) on consent of all petitioners and the debtor, or (3) for want of prosecution.” 11

U.S.C. § 303(j). Section 303(j) provides no “standard” by which courts must evaluate requests

for dismissal of an involuntary petition. Collier provides little additional color, noting only that

“reasons for dismissal include the creditor’s realization that it is not qualified to serve as a

petitioning creditor . . . or that the involuntary filing is not a wise idea, although permissible

under applicable law.” 2 Collier on Bankruptcy ¶ 303.34, at 303-116 (Richard Levin & Henry J.

Sommer eds., 16th ed).

          15.   As suggested by Collier, the dismissal of the Involuntary Petition is warranted

here because the Petitioning Creditors have concluded that continued prosecution of the

Involuntary Petition will only lead to value-destructive litigation that ultimately could harm the

value of the D&O Claims that the Involuntary Petition was filed to preserve. Dismissal will

preserve the limited resources of the Receivership and will result in significant savings to both

parties by avoiding the time and expense associated with discovery and prosecuting multiple

motions across a two-stage hearing process. Given these savings and because the Petitioning

Creditors no longer wish to proceed with the prosecution of the Involuntary Petition, dismissal is

warranted.

                                             NOTICE

          16.   Notice of this Motion shall be provided to (i) the U.S. Trustee; (ii) counsel for the

Receiver; and (iii) any parties that has entered a notice of appearance in this bankruptcy case.

Contemporaneously herewith, the Petitioning Creditors are filing a motion to shorten and limit



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notice to these parties, who are the only parties that have appeared or participated in this

proceeding. Under the circumstances, the Petitioning Creditors respectfully submit that no other

or further notice is necessary.

                                     NO PRIOR MOTION

          17.   The Petitioning Creditors have not made any prior motion for the relief sought in

this Motion to this Court or any other.

                                           CONCLUSION

          WHEREFORE, the Petitioning Creditors respectfully request entry of the proposed

Dismissal Order, attached hereto as Exhibit A, granting the relief requested herein and such

other relief as the Court may deem just and appropriate.

Dated: February 14, 2020                  POTTER ANDERSON & CORROON LLP
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